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                             IN THE UNITED           STATES DISTRICT COURT
                             FOR THE        SOUTHERN DISTRICT OF GEORGIA
                                                AUGUSTA DIVISION


UNITED STATES OF AMERICA,                                  *


                                                           *                    CR    113-220


ANTONIO       TAGUI.                                       *




                                                    ORDER




        Defendant      has       filed      a     motion       for       reduction         of    sentence     under         18


U.S.C.    § 3582(c)(2)           on the basis that Amendment 782 to the United States

Sentencing          Guidelines        has       revised            the    guidelines            applicable       to    drug

trafficking         offenses.           Even       though          Amendment         782    became       effective          on

November       1,    2014,    no      defendant       may           be    released         on    the     basis    of     the

retroactive amendment before November 1, 2015.                                       See U.S.S.G.          Amend.       788.

Thus,     the       Court    will       undertake              a     review     of         cases      involving        drug

trafficking         offenses       in       due    course.               If   Defendant          is    entitled        to    a

sentence        reduction        as     a    result        of       amendments         to       the    United         States


Sentencing Guidelines,                the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 460) is DEFERRED.1
        ORDER ENTERED        a   t Augusta, Georgia, this £*?<p*£^day of June, 2015,



                                                    HONORABLE^J.              RANDAL HALL
                                                    UNITED/STATES DISTRICT JUDGE
                                                                   *N    DISTRICT     OF    GEORGIA




1       The    Court   DIRECTS        the    Clerk    to       TERMINATE       the    motion       for    administrative
purposes.
